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         FAQ: Where Is Mixtiles Located?
         Find out where Mixtiles are made.

         Updated over a week ago


         Mixtiles are proudly made at our factories in the US, UK, and Germany. 😊


         We operate exclusively online and do not have a physical retail store. 🌐 This allows us to
         bring Mixtiles directly to your door, no matter where you are!


         If you need to get in touch with us, our friendly customer support team can be reached by
         email or live chat.


         Email: hi@mixtiles.com
         Live Chat: Available on our website or app


         We're here to help and excited to assist you in creating beautiful Mixtiles! 💛



                                                         Did this answer your question?


                                                                 😞😐😃


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